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19                               UNITED STATES DISTRICT COURT

20                              NORTHERN DISTRICT OF CALIFORNIA

21   In re: ROUNDUP PRODUCTS LIABILITY              MDL 2741
     LITIGATION
22                                                  Case No. 16-md-02741-VC
23                                                  HON. VINCE CHHABRIA
     This document relates to:
24                                                  OPPOSITION TO MOTION TO AMEND
25   ALL CASES                                      PRE-TRIAL ORDER 12: COMMON
                                                    BENEFIT FUND ORDER TO
26                                                  ESTABLISH A HOLDBACK
                                                    PERCENTAGE (Doc. No. 12394)
27
                                                    Hearing date: March 3, 2021
28                                                  Time: 1:00 PM


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         I.      INTRODUCTION
 1
 2            The brief responds to the recent motion by Plaintiffs’ Co-Lead Counsel to supplement this
 3   Court’s Pretrial Order No. 12 (“PTO-12”). That motion seeks a common-benefit holdback of 8.25%
 4
     from a group currently defined in PTO 12 to include “all plaintiffs or other claimants from … non-
 5
     MDL 2741 proceedings and their counsel who voluntarily submit to this Court’s jurisdiction or
 6
 7   agree to be bound by the terms of this Order in return for MDL work product.” See Dkt. No. 12394

 8   (Jan. 14, 2021) (“Mot.”) at 2; PTO 12 at 4. In response, this Court already issued an order sua sponte
 9
     requesting answers to specific questions, among them whether “the Court [should] consider anew
10
     the universe of cases that should be subject to a hold-back?” and whether “it [should] include state
11
12   court cases or only federal cases?” See Order, Dkt. No. 12463 (Jan. 26, 2021) at 2. We doubt that,

13   as presently written, the definition in PTO 12 covers any of undersigned counsel’s cases—including
14
     non-MDL federal cases and even cases within the MDL.1 But the purpose of this brief is to make
15
     particularly clear that—absent a voluntary contractual obligation undertaken a party or its counsel—
16
17   this Court lacks the power to require a holdback from a non-federal case.

18            Co-Lead Counsel have done great work for their clients and have been handsomely
19   compensated for it. Other counsel have thus explained that the requested holdback is unnecessary
20
     and excessive, and we join those arguments as well. But the more important point here is that there
21
     is no jurisdictional hook for this Court to require a holdback from cases outside this Court,
22
23   particularly if they are not in federal court at all. In particular, the Court cannot derive that power
24   from the presence of the defendant in the MDL Court or from our appearance as representatives for
25
26   1
              Undersigned counsel did not have a client’s case consolidated into the MDL until September
27   18, 2017—more than seven months after entry of PTO 12. Accordingly, neither counsel nor any of
     their clients agreed to the terms of this Order, to “voluntarily submit to this Court’s jurisdiction,” or
28   “to be bound by the terms of this Order in return for MDL work product.” Indeed, we have never
     signed any participation agreement with Co-Lead Counsel whatsoever.
                                                         1
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     a small minority of our clients after they were transferred here. The situation might well be different
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 2   if (1) we had voluntarily entered into a participation agreement with Co-Lead Counsel and (2) that
 3   agreement was incorporated into an order of this Court. But in the absence of either of those
 4
     conditions—let alone both—this Court has no power over outside cases or controversies, let alone
 5
     cases or controversies that otherwise fall outside of federal subject-matter jurisdiction.
 6
 7       II.        ARGUMENT AND AUTHORITY

 8             A.     The Court Has No Jurisdiction To Enter An Order Compelling Holdbacks from
                      State-Court Cases2
 9
10             Co-Lead Counsel’s most extraordinary request asks this Court to do something it cannot

11   possibly have the jurisdiction to do: namely, to order the withholding of funds from state cases. Co-
12
     Lead Counsel identify no source of jurisdiction for such an order, and there is none. The state cases
13
     they ask this Court to reach out and tax are not only cases or controversies outside this Court, but
14
15   outside the federal courts entirely, and neither Congress nor the Constitution suggests any basis on

16   which this Court’s power could reach that far. Accordingly, this Court lacks subject-matter
17
     jurisdiction to enter such an order.
18
               1.     As an initial matter, the closest controlling case on this issue is a Ninth Circuit
19
20   decision rejecting a very similar effort by MDL counsel on jurisdictional grounds. In Hartland v.

21   Alaska Airlines, a plane crash led to state and federal court actions in several jurisdictions in multiple
22   states. 544 F.2d 992, 994 (9th Cir. 1976). Much like the MDL here, the JPML transferred the federal
23
     cases to the Northern District of California for pretrial proceedings. Id. When the defendant
24
     attempted to settle with two firms—one representing a client who had not yet filed any action, and
25
26
27   2
       This Brief focuses on jurisdictional elements, but undersigned counsel concurs with other
28   counsels’ briefs related to the unreasonableness of the requested holdback and joins in those
     arguments. See, e.g., Opposition of Category 3 Objectors.
                                                         2
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     the other a client in state court—the district judge ordered that those firms contribute to a common-
 1
 2   benefit fund in the MDL. Neither firm had signed the common-benefit participation agreement
 3   attached to the district court’s pretrial order. Id. at 996-99. And the Ninth Circuit thus concluded
 4
     that this order far exceeded the power of the MDL court.
 5
            In fact, the Court of Appeals went so far as to enter a writ of mandamus, calling the attempt
 6
 7   a “usurpation of power by the District Court.” 544 F.2d at 1001. The analysis on this issue is

 8   relatively limited in part because the Ninth Circuit seemed to think it obvious that there was no
 9
     jurisdictional basis for such an order. Instead, much of the reasoning was centered on whether the
10
     district court’s orders were so egregious that the appeal could be sua sponte converted into one
11
12   seeking mandamus, allowing the Court to bypass appellate procedural issues and correct the district

13   court’s error. The Ninth Circuit said yes, noting that “the District Court had not even a semblance
14
     of jurisdiction—original, ancillary or pendent—to order anything or anybody, and least of all to
15
     compel lawyers who were not parties to the action,” to pay “into a fund.” Id.3 In his concurrence,
16
17   Judge Wallace agreed that the case “present[ed] exceptional circumstances amounting to a judicial

18   usurpation of power” that could be corrected by mandamus, even though the appellants had not
19   originally sought mandamus relief. Id. at 1003 (Wallace, J., concurring).
20
            This decision controls here; neither we nor our state-court clients are “parties to the action”
21
     before this Court. Indeed, the only arguable distinction is that—perhaps unlike the attorneys in
22
23   Hartland—we have appeared in the MDL as representatives for other clients in a very small
24   minority of our cases. But that does not make us “parties” to any “action” before the Court. See,
25
     e.g., Favish v. Office of Indep. Couns., 217 F.3d 1168, 1171 (9th Cir. 2000) (holding that plaintiff
26
27   3
             This language technically refers only to the “case” in which the settlement preceded the
28   filing of any action. But the court of appeals granted mandamus equally as to both cases at issue and
     seemed equally convinced that district court jurisdiction was obviously wanting in both.
                                                       3
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     was not estopped from bringing FOIA claim despite previously acting as counsel in a case pursuing
 1
 2   the same claim because acting as counsel did not make plaintiff a party to the prior action); see also
 3   infra Part B (discussing cases, not presented here, in which attorneys have signed common-benefit
 4
     agreements incorporated into a court order). Cf. Hartland, 544 F.2d at 1001 (distinguishing between
 5
     parties and counsel in holding that district court “had not even a semblance of jurisdiction … to
 6
 7   order anything or anybody, and least of all to compel lawyers who were not parties to the action to

 8   pay … into a fund”) (emphasis added).4 We would not ordinarily say that attorneys are subject to
 9
     the general jurisdiction of a court simply because they appear as representatives of a party in an
10
     action before that tribunal; for example, this Court would not have any jurisdiction (let alone subject-
11
12   matter jurisdiction) over a dispute between a New Hampshire firm and its landlord simply because

13   that firm was representing another client in this case. And so there is no path available to Co-Lead
14
     Counsel to escape the jurisdictional holding of Hartland.
15
            2.      Accordingly, other circuits in similar cases have reached the same conclusion with
16
17   analysis that is even more explicitly controlling here. Most notably, in one recent case, the Eighth

18   Circuit held that jurisdiction was lacking for such an order under circumstances exactly like those
19   here—where counsel that appeared in the MDL had clients both inside and outside the MDL. In In
20
     re Genetically Modified Rice Litigation (Rice I), the lead plaintiffs’ counsel in the MDL, “on behalf
21
     of all common benefit attorneys,” appealed “the district court’s determination that it lacked
22
23   jurisdiction to order holdbacks from state plaintiffs’ recoveries.” 764 F.3d 864, 873 (8th Cir. 2014).
24   But the court of appeals agreed with the district court and affirmed.
25
26
     4
27           Indeed, this might not be a distinction at all. Although Hartland does not say so explicitly,
     the attorneys in the state-court case at issue in Hartland likely were before the MDL court, because
28   their client had brought a parallel case against the federal government that had been consolidated
     into the MDL. 544 F.2d at 997-98.
                                                        4
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               That decision’s reasoning is squarely on point. The Eighth Circuit explained that,
 1
 2   “[a]lthough district courts have discretion in orchestrating and conducting multi-district litigation,”
 3   a JPML order consolidating cases before an MDL court is “merely procedural and does not expand
 4
     the jurisdiction of the district court.” 764 F.3d at 873 (quotation marks omitted). “Thus,
 5
     notwithstanding 28 U.S.C. §1407, the district court does not have the power to order parties in cases
 6
 7   not before it to contribute to the Fund.” Id. at 874. Notably the Eighth Circuit relied for that

 8   proposition on the Ninth Circuit’s decision in Hartland, described above. See id. (citing Hartland,
 9
     544 F.2d at 1001). And the Eighth Circuit then continued by explicitly holding that, “[e]ven if the
10
     state plaintiffs’ attorneys participated in the MDL, the district court overseeing the MDL does not
11
12   have authority over separate disputes between state-court plaintiffs and [the MDL defendant],”

13   because “state-court cases, related or not, are not before the district court.” Id. And it was of no
14
     matter to the court “that the state-court plaintiffs’ counsel benefited from the MDL leadership
15
     group’s work,” because “equity is insufficient to overcome limitations on federal jurisdiction.” Id.
16
17   at 874.

18             So too here. Even assuming (counterfactually) that we or our state-court clients have
19   “benefited from the MDL leadership group’s work,” “state plaintiffs’ attorneys participat[ing] in
20
     the MDL” do not give confer jurisdiction on this Court over “state-court cases, related or not,”
21
     because a “district court overseeing [an] MDL does not have authority over separate disputes
22
23   between state-court plaintiffs and [the MDL defendant].” Rice I, 764 F.3d at 873-74. Simply put,
24   there is no source of power this Court could use to impose and enforce a tax on a sum awarded to
25
     those state-court plaintiffs to compensate attorneys they did not hire for doing work in a case they
26
     did not join that just happens to arise from the same underlying set of facts.
27
28


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            The text of the Constitution is also relevant here. It extends the “judicial power of the United
 1
 2   States” to a certain set of “cases and controversies,” none of which are dependent on the identity of
 3   a defendant corporation alone, much less the attorneys who happen to be representing a party. Nor
 4
     does the Constitution mention jurisdiction over cases or controversies that are related to “cases or
 5
     controversies” otherwise within the federal judicial power. Put another way, a “case” that is
 6
 7   otherwise a purely state-court dispute and does not involve diverse parties or federal questions has

 8   no other way to be brought within the federal judicial power under Article III, because that power
 9
     only extends to certain kinds of “cases or controversies,” not certain corporations or mass-tort
10
     events—much less certain law firms. There is thus no constitutional basis for a federal court to reach
11
12   into a state court “case” in the way Co-Lead Counsel request.

13          In addition to lacking any firm jurisdictional basis in federal law, precedent, or the text of
14
     the constitution, exercising power over state-court cases or settlements on the basis of the plaintiffs’
15
     attorneys being before the MDL court in other cases would lead to bad incentives and perverse
16
17   results. It is easy to foresee attorneys dropping federal cases—or refusing to file diversity cases at

18   all—in order to avoid creating a narrow jurisdictional hook for lead MDL lawyers to demand
19   approximately 25% of their fees on a much larger portfolio of state suits. It would also massively
20
     raise the stakes of JPML tagalong orders, which are neither meant nor designed to be litigated to the
21
     hilt. It is likewise easy to foresee all manner of wasteful and otherwise unnecessary efforts to swap
22
23   plaintiffs among firms or create formalistic business separations among otherwise allied attorneys
24   to avoid such a technical source of jurisdiction. And so this Court would be wise to avoid endorsing
25
     the exercise of jurisdiction on this basis, even if it were allowed (which it is not).
26
            3.      It might be tempting to believe that the holdbacks “need not be levied on the state-
27
28   court plaintiffs themselves, but rather may be withheld by [the MDL defendant] (a party before the


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     district court),” as the lead plaintiffs’ counsel argued in Rice I. See 764 F.3d at 874. But the Eighth
 1
 2   Circuit roundly and rightly rejected that argument as well, again because “state-court cases, related
 3   or not, are not before the district court.” Id. This argument suffers from the same defects noted above
 4
     under the text of the Constitution.
 5
             Likewise, the Fourth Circuit has also held that there is no jurisdiction to order holdbacks in
 6
 7   non-MDL settlements on the basis that the MDL defendant is a party before the district court. In In

 8   re Showa Denko K.K. L-Tryptophan Product Liability Litigation-II, the district court entered a
 9
     holdback order “attempt[ing] to reach not only plaintiffs in cases pending in the multi-district
10
     litigation, but also plaintiffs in federal cases not transferred to the multidistrict litigation, plaintiffs
11
12   in some 683 pending state cases, and approximately 180 claimants known to [the defendant] who

13   ha[d] not yet filed suit in any court.” 953 F.2d 162, 164 (4th Cir. 1992). The district court sought to
14
     enforce its order “by requiring [the defendant] to ‘certify’ that the assessments have been paid by
15
     plaintiffs and claimants whenever it settles or pays a verdict in a case or discloses discovery
16
17   materials generated in the multi-district litigation.” Id. The enforcement mechanism—requiring the

18   defendant “to ‘certify’ that the assessments have been paid ‘[a]t the close of any case by settlement,
19   verdict or otherwise’”—forbid “any party to ‘furnish to any non-MDL plaintiff any product of the
20
     MDL discovery or permit its use’ until the assessments ha[d] been paid.” Id. at 166. And the upshot,
21
     according to the court, was “to exact the assessments [from the defendant] if it wishes to settle, pay
22
23   a verdict[,] or even share its discovery materials which may be considered the ‘product of the MDL
24   discovery’ with any plaintiff or claimant not before the court.” Id.
25
             The Fourth Circuit rejected this approach in terms. It explained that such an order created a
26
     very concrete form of federal overreach into state-court cases otherwise outside its jurisdiction.
27
28   Notably, enforcing such an order against the defendant “ha[d] the very real potential of interfering


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     with discovery proceedings in state court, raising questions of conflict with the policy of comity
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 2   between federal and state courts underlying Younger v. Harris, 401 U.S. 37, 43-44, (1971).” Id.
 3   (also citing Pennzoil Co. v. Texaco Inc., 481 U.S. 1, 13-14 (1987) (holding that the principles of
 4
     federalism enumerated in Younger preclude federal court from enjoining the enforcement of a state
 5
     court judgment pending the disposition of state appeals)). That is because there would be no way to
 6
 7   order the defendant to exact such an assessment before providing state-court discovery without

 8   essentially asserting the power to enjoin the discovery orders of state courts in the cases before them.
 9
     Those same concerns would apply here if this Court attempted to enforce such an order through
10
     Bayer.5
11
12             And in language the Eighth Circuit would eventually cite, see Rice I, 764 F.3d at 873-74, the

13   Fourth Circuit reasoned that although “a district court needs to have broad discretion in coordinating
14   and administering multi-district litigation,” the “authority for consolidating cases on the order of the
15
     judicial panel on multi-district litigation … is merely procedural and does not expand the jurisdiction
16
     of the district court to which the cases are transferred.” 953 F.2d at 165. Accordingly, “a transferee
17
18   court’s jurisdiction in multi-district litigation is limited to cases and controversies between persons
19   who are properly parties to the cases transferred, and any attempt without service of process to reach
20
     others who are unrelated is beyond the court’s power.” Id. at 165-66. And so, while the district court
21
22
23   5
              Notably, the identical concerns would arise if a federal MDL court were to order a lawyer
     for a state-court plaintiff to do or not do certain things in that state-court case based on the attorney’s
24
     representation of a different client in the MDL. But the same would not necessarily be true if the
25   same client had filed both federal and state cases, and the federal case was consolidated into the
     MDL. As the Eighth Circuit recognized in In re Genetically Modified Rice Litigation (Rice II), 835
26   822, 828 (8th Cir. 2016), where a plaintiff has “‘voluntarily entered the litigation’ and sought a
27   federal forum by filing a federal complaint and asserting third-party claims in the consolidated
     federal proceedings,” the MDL court may have “jurisdiction to enter any orders regarding [that
28   plaintiff] that are consistent with the authority of a transferee court in centralized multidistrict
     litigation.” Id. But that situation is not presented here.
                                                          8
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     tried to “compel[] contributions from plaintiffs in state or federal litigation who are not before the
 1
 2   court and by claimants who have chosen not to litigate but to compromise their claims outside of
 3   the court,” the “district court simply has no power to extend the obligations of its order to them.”
 4
     Id. at 166.
 5
             4.     As against these very on point court of appeals authorities, we aware of no case in
 6
 7   any court holding to the contrary. Instead, those district courts that have been asked to enter such an

 8   order using either the defendant or the state-court plaintiffs’ attorneys as the sole jurisdictional hook
 9
     have all rejected doing so. See, e.g., In re Lidoderm Antitrust Litig., 2017 WL 3478810, at *3 (N.D.
10
     Cal. Aug. 14, 2017) (rejecting argument that jurisdiction over defendant means court had
11
12   “jurisdiction over the recoveries belonging to opt-outs who are not before” the MDL court”); In re

13   Syngenta AG MIR 162 Corn Litig., 2015 WL 2165341, at *3 (D. Kan. May 8, 2015) (same, and also
14   rejecting argument that district court could “exercise jurisdiction over the attorneys (from whose
15
     shares the assessments are taken) because those attorneys have cases” in the MDL, because that
16
     “would effectively be exerting … authority over parties in cases not before” the court, and the parties
17
18   had “offered no basis or authority for such an exercise of jurisdiction”); In re Baycol Prod., 2004
19   WL 1058105, at *3 (D. Minn. May 3, 2004) (holding that MDL court did not have jurisdiction over
20
     plaintiffs “who ha[d] not previously submitted to its jurisdiction”).
21
             B.     Any Power A Court Might Have To Enter Such An Order Would Have To
22
                    Derive From An Attorney Agreement That Does Not Exist Here.
23
             To our knowledge, the only cases that even approach the result Co-Lead Counsel are asking
24
     for involve two conditions, neither of which are present here. Orders of holdbacks from state-court
25
26   cases have occasionally been approved where (1) the attorneys involved in the state cases had signed

27   a voluntary participation agreement in the MDL, and (2) that agreement was incorporated into an
28
     order entered by the MDL court. Those conditions create a close jurisdictional question about the

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     MDL court’s ancillary jurisdiction over what is, in essence, a contract dispute between the parties
 1
 2   to the participation agreement. But in the absence of both conditions, the question is not close, and
 3   this Court need decide no more to answer the question presented here.
 4
            1.      The leading case on such a situation is an unpublished decision that is quite explicit
 5
     in relying on both of the conditions above for its approval of the district court’s common-benefit
 6
 7   order, and its reasoning thus ultimately supports our argument here. In In re Avandia Marketing,

 8   Sales Practices & Product Liability, the Third Circuit addressed a challenge to the district court’s
 9
     authority to extract holdbacks from a firm with cases both in state court and before the MDL. 617
10
     F. App’x 136, 137-38 (3d Cir. 2015). But that firm had signed an “Attorney Participation
11
12   Agreement” with the MDL plaintiffs’ steering committee, in which it agreed to pay a portion of the

13   recovery on its clients’ claims arising from the same transactions and occurrences into a litigation
14
     expense fund in exchange for the use of the steering committee’s litigation work product. Id. at 138.
15
     A dispute arose only when that firm settled all of its various clients’ claims and then refused to pay
16
17   the holdback in the state court cases. And in that context, the district court ordered that the defendant

18   make the payments out of the settlement proceeds, the settling plaintiff attorneys objected that the
19   district court lacked jurisdiction to do so, and the Third Circuit affirmed. Id.
20
            The key point, however, is that the court of appeals located the jurisdiction to enter such an
21
     order solely in the agreement that the recalcitrant firm had signed and the incorporation of that
22
23   agreement into an earlier order of the district court. It thus “agree[d] with [the plaintiff firm] that
24   had the District Court simply ordered the firm, as total strangers to the litigation, to contribute to
25
     the common benefit fund from the settlement of its clients’ state-court cases, it would have exceeded
26
     its jurisdiction.” 617 F. App’x at 141 (emphasis added). The court recognized, however, that there
27
28   remained a “proper question” about whether “the District Court properly exercise[d] jurisdiction to


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     enforce the contract [the firm] made with the Plaintiffs’ Steering Committee.” Id. And on that
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 2   question alone, the court of appeals ultimately found that there was a proper source of jurisdiction
 3   to adjudicate and enter relief respecting the contract dispute.
 4
            Importantly, however, the Third Circuit went a step beyond just relying on the agreement
 5
     itself to reach that conclusion, and instead emphasized that the district court had “‘incorporated’ the
 6
 7   agreement into [an] order” that it entered earlier in the MDL. 617 F. App’x at 142. On that basis,

 8   the Third Circuit held that “[w]hen a district court incorporates the terms of an agreement into a
 9
     court order, ‘a breach of the agreement would be a violation of the order.’” 617 F. App’x at 142
10
     (quoting Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381 (1994)). And “[b]ecause a
11
12   district court has jurisdiction to determine whether one of its orders has been violated,” the court of

13   appeals reasoned “it may adjudicate whether an agreement incorporated into a court order has been
14
     breached.” Id. “Thus,” the court concluded, “if the District Court incorporated [the firm’s] Attorney
15
     Participation Agreement into [the MDL order], it had jurisdiction to determine whether [the firm]
16
17   breached that agreement and, if so, to remedy that breach.” Id.

18          In other words, “[t]he agreement itself [wa]s not the source of the District Court’s authority.”
19   617 F. App’x at 143. Rather, “[b]ecause it was within the District Court’s power to issue an order
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     governing how to compensate the Steering Committee for its work and because [the firm’s] Attorney
21
     Participation Agreement was incorporated into that order, the District Court had jurisdiction to
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23   adjudicate whether [the firm] breached the Attorney Participation Agreement and thereby violated
24   [MDL order].” Id. at 143-44. The Third Circuit’s holding thus expressly noted that it did not “decide
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     whether, in the absence of [the MDL order], the District Court could exercise jurisdiction over [the
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     firm’s] agreement with the Steering Committee”—perhaps on the basis that it was “a court-
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28   appointed and court-supervised entity.” Id. at 144 n.6. Instead, the Third Circuit held only that


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     jurisdiction over what was essentially a breach-of-contract action—a state-law dispute that
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 2   otherwise would likely lie outside any federal court’s subject-matter jurisdiction—could be derived
 3   from the breach of the district court’s order incorporating the relevant contract.
 4
            Here, there is neither an agreement nor an order embodying it from this Court. There is
 5
     accordingly a double lack of any jurisdictional basis to make an order requiring holdbacks from
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 7   state-court cases here, and this Court need say no more to decide this case.

 8          2.      That said, the answer to the question the Third Circuit refused to answer is almost
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     certainly “no.” In the absence of a court order embodying an agreement among attorneys, such a
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     dispute would be a pure breach-of-contract claim, and in relatively parallel circumstances, the
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12   Supreme Court has explicitly held that the enforcement of such a claim is “for state courts, unless

13   there is some independent basis for federal jurisdiction.” See Kokkonen, 511 U.S. at 382. In that
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     case, the Court held that, in a “suit involv[ing] a claim for breach of a contract, part of the
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     consideration for which was dismissal of an earlier federal suit,” ancillary jurisdiction did not extend
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17   to such a claim in the federal court where that earlier proceeding had been dismissed, because “the

18   parties’ obligation to comply with the terms of the settlement agreement had [not] been made part
19   of the order of dismissal—either by separate provision (such as a provision ‘retaining jurisdiction’
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     over the settlement agreement) or by incorporating the terms of the settlement agreement in the
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     order.” Id. at 381. Accordingly, if we had merely signed an agreement with Co-Lead Counsel
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23   regarding state-court cases (and we have not done even that), that might permit a contract action in
24   state court. But it would not give this federal court the power to decide an action over which it did
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     not have some other basis for federal jurisdiction.
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            Moreover, this Court certainly cannot decide such an “action” through the filing of a motion
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28   in a related case. To seek a remedy for breach of a contract (rather than a court order), Co-Lead


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     Counsel need to file a complaint that establishes the court’s venue, subject-matter jurisdiction, and
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 2   personal jurisdiction, and serve process on the breaching law firm qua party. That action would
 3   likely be governed by state law and might only be possible in a state court. But that does not make
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     the availability of such an action remotely inadequate to addressing any inequities that might arise
 5
     if a party to an MDL participation agreement later refused to pony up. State courts adjudicate cases
 6
 7   like that every day, and Co-Lead Counsel have thus shown no good reason to take the extraordinary

 8   step of trying to move such an (unfiled) action case into this particular federal court.
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            The likely availability of such a collateral contract action merits attention, however, because
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     it explains the source of the (misleading) intuition that it should be permissible for an MDL court to
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12   reach into state cases to require contributions from plaintiffs’ attorneys who agreed to make

13   common-benefit payments out of them. In all such cases that we know of, the attorneys at issue have
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     agreed to contribute to a common-benefit fund from all their cases. And that agreement explains
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     why the MDL court has the apparent power to require those attorneys to pay into the common-
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17   benefit fund from their state-court cases—namely, because it has the power to enforce the agreement

18   according to its terms. In a contract action against the attorneys as parties, any relief ordered against
19   them would be a judgment in personam and would be due from them no matter where they got the
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     money from. A court could thus certainly enforce such a judgment by requiring that the proceeds of
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     settlements governed by the breached agreement be paid directly from those settlements, but only
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23   because it could also order that money be paid directly from the defendant’s bank account or
24   garnished from fees generated in wholly unrelated cases.
25
            The important question here is thus whether there is subject-matter jurisdiction and some
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     source of substantive authority to enter such a personal judgment against us in a contract action Co-
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28   Lead Counsel have never filed about a contract we never signed. That question is no doubt easily


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     overlooked if a contract has been signed—particularly because attorneys who have signed such a
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 2   contract will normally have no reason to complain about a court’s order commanding them to do
 3   what they already agreed to do anyway. But once it is isolated in a case with facts like this one, the
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     answer is quite obviously no.
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            We believe this subtle mistake about how the participation agreement gives rise to
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 7   jurisdiction underlies some of the dicta in a recent, related decision from the Southern District of

 8   New York. In In re Gen. Motors LLC Ignition Switch Litig., 477 F. Supp. 3d 170, 191 (S.D.N.Y.
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     2020), there was both an agreement and a court order embodying it, and so the court’s holding that
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     holdbacks could be ordered from state-court cases does not bear on this dispute. But in reaching that
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12   holding, the district court reasoned that the power to issue a holdback order respecting state court

13   cases might arise from an MDL court’s “authority to regulate the conduct of the MDL parties and
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     MDL counsel, even where such regulation affects the interests of others.” Id. at 189. Accordingly,
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     while the court recognized that “[t]he question is a confounding and close one,” it seemed ultimately
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17   to conclude that jurisdiction might be derived from the fact that attorneys who were representing

18   state-court plaintiffs were otherwise before the MDL. Id. at 187.
19          Notably, however, that jurisdictional analysis plainly relies on a mistaken premise. The
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     General Motors decision began by recognizing (not quite correctly) that “courts have held, and the
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     Firms do not dispute, that a federal court has the power to impose an assessment for state-court cases
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23   and unfiled claims where counsel consents to it in exchange for access to common benefit work
24   product.” 477 F. Supp. 3d at 187 (emphasis added) (citing Avandia, 617 F. App’x at 141-44). From
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     that premise (which, again, would not apply here even if it were correct), the court concluded that
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     there must be no jurisdictional problem at all with ordering holdbacks from state cases, because “no
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28   action of the parties can confer subject-matter jurisdiction upon a federal court.” Id. The mistake in


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     this reasoning, however, is that courts have not held that jurisdiction arises merely from the consent
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 2   of the agreeing counsel, but rather from the combination of the “action of the parties” (i.e., the
 3   participation agreement) and the court’s action incorporating that agreement into an order. See supra
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     Part B.1. Conversely, jurisdiction was not (as some of General Motors language suggests) forged
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     from the mere fact that the attorneys at issue were otherwise before the court as representatives of
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 7   other clients. On that particular score, both the Eighth and Fourth Circuits are correct that “state

 8   plaintiffs’ attorneys participat[ing] in the MDL” do not confer jurisdiction on “state-court cases,
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     related or not,” because a “district court overseeing [an] MDL does not have authority over separate
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     disputes between state-court plaintiffs” and the same defendant. Rice I, 764 F.3d at 873-74; see also
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12   In re Showa Denko, 953 F.2d at 166.

13      III.      CONCLUSION
14
               Co-Lead Counsel have asked for an extraordinarily large holdback in advance of any
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     agreement, without giving any explanation for why the much more ordinary, sound, and safe course
16
17   of using executed voluntary agreements was not followed. Nor have they explained why contract or

18   quasi-contract actions in appropriate courts would be inadequate to vindicate any equitable interests
19   they might have in other firms’ settlements. Instead, they are asking this court to take a step that has
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     a very serious jurisdictional defect—or at the very least raises serious jurisdictional doubts—when
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     appellate review could blow up the course of the litigation at any time if the court of appeals
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23   concludes that there was a jurisdictional error involved. There is no reason for this Court to do so.
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     Dated: February 4, 2021                  Respectfully submitted,
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 1                                   CERTIFICATE OF SERVICE
 2
 3          I HEREBY CERTIFY that on this 4th day of February, 2021, a copy of the forgoing was
 4   filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing to all
 5   appearing parties of record.
 6
 7
                                                  /s/ Thomas C. Goldstein
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